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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                          SAN JOSE DIVISION

                                   6

                                   7     SVB FINANCIAL GROUP,                               Case No. 23-cv-06543-BLF
                                   8                    Plaintiff,
                                                                                            ORDER ON SUPPLEMENTAL
                                   9             v.                                         BRIEFING
                                  10     FEDERAL DEPOSIT INSURANCE
                                         CORPORATION,
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          At the hearing on July 11, 2024, the Court requested the parties submit supplemental

                                  14   briefing of no more than 5 pages on the issue of preemption. To aid the parties in drafting these

                                  15   briefs, the Court requests that the supplemental briefs address: (1) the scope of the Secretary of the

                                  16   Treasury’s authority under the systemic risk exception; and (2) whether and to what extent may

                                  17   FDIC-C use the deposit insurance fund for non-insurance purposes. The parties are free to

                                  18   address, and should address, any other issues that they may deem relevant to the Court’s

                                  19   disposition of the preemption issue.

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                                  21          IT IS SO ORDERED.

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                                  23   Dated: July 12, 2024

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                                                                                        BETH LABSON FREEMAN
                                  25                                                    United States District Judge
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